  Case 3:19-cv-01219-DRD Document 83 Filed 11/12/21 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO


                                                       CIVIL NO.: 19-1219 (DRD)

  ADA N. LOPEZ and ANGE L. RAMOS by
  themselves, representing their conjugal
  partnership and in representation of their
  minor son D.R.
  Plaintiffs                                           FEDERAL TORTS CLAIMS ACT

  v.                                                   MEDICAL MALPRACTICE

  UNITED STATES OF AMERICA
  Defendant

  v.

  CENTRO MEDICO DEL TURABO, INC.
  d/b/a HOSPITAL HIMA SAN PABLO
  HUMACAO
  Third Party Defendant


 JOINT INFORMATIVE MOTION REGARDING SETTLEMENT NEGOTIATIONS
                    AND PENDING DISCOVERY

TO THE HONORABLE COURT:

       COME now THE PARTIES, through the subscribing attorneys who very respectfully

STATE, ALLEGE and PRAY:

       1.    The parties are actively discussing alternatives for settlement in the caption case.

             However, in compliance with this Honorable Court’s Order at Docket #82, the

             parties inform that they have selected the following dates to conduct the pending

             discovery: December 7, 8, 21; January 19, 25, 31; February 1.

       2.    Finally, the parties propose the following dates for Trial: April 4-20, 2022.
  Case 3:19-cv-01219-DRD Document 83 Filed 11/12/21 Page 2 of 3




        WHEREFORE, it is respectfully requested that the discovery plan provided herein BE

NOTED.

        I HEREBY CERTIFY: That on this same date I electronically filed the foregoing

document with the Clerk of the Court for the District of Puerto Rico, through the CM/ECF

system, which will provide notification of this filing to all the parties involved in the present

case.



        RESPECTFULLY SUBMITTED

        In San Juan, Puerto Rico, this 12 day of November 2021.



                                             Attorney for Plaintiffs:

                                            S/Michelle A. Ramos-Jiménez
                                            MICHELLE ANNET RAMOS JIMENEZ
                                            USDC-PR 225303
                                            Arterial Hostos 239
                                            Capital Center, Suite 401
                                            San Juan, PR 00918
                                            Phone: (787) 763-1780
                                            Fax:     (787) 763-2145
                                            E-mail: michellean2000@yahoo.com


                                            Attorney for the United States of America:

                                            W. Stephen Muldrow
                                            United States Attorney

                                            s/Lisa E. Bhatia Gautier
Case 3:19-cv-01219-DRD Document 83 Filed 11/12/21 Page 3 of 3




                                Lisa E. Bhatia Gautier
                                Assistant U.S. Attorney / 206014
                                Torre Chardón, Suite 1201
                                350 Calle Chardón
                                San Juan, Puerto Rico 00918
                                Tel.787.766.5656 Fax:787.766.6219
                                E-mail: lisa.bhatia@usdoj.gov



                                Counsel for Centro Medico del Turabo, Inc,
                                d/b/a HIMA San Pablo

                                s/ José Miranda Daleccio
                                Lcdo. José Miranda Daleccio
                                USDC: 205705
                                P.O. Box 4980
                                Caguas, P.R. 00726
                                Tel. 787-653-2230
                                jamiranda@himapr.com




                                  −3−
